
*887Crapser, Bliss, Heffernan and Schenck, JJ., concur; Hill, P. J„, concurs as to the reversal. The matter should be remitted to the Court of Claims for a decision indicating what items and to what extent the several items claimed are allowed. The court reverses findings numbers 11, 21, 23 and 25 and disapproves conclusion numbers IV and V of the decision. The court makes the following findings: Numbers 47, 48, 65, 97, 98,107,108,109,117, 130,136,139,140,141,142,146,147,148,151, 154,155,156,156b, 156c, 156d, 161, 162, 164, 165, 166, 168, 169, 170, 172, 173, 174, 175 and 176 of the claimant’s requests to find. The court also makes and approves conclusion number III of claimant’s requests to find. The court reverses findings numbers 6, 8, 12, 14, 15, 16,17,18, 20, 21, 22, 23, 24, 25, 26, 28, 29, 30, 31, 32, 33, 36, 38, 39, 40, 41, 42, *88843, 47, 48, 51, 55, 56, 57, 58, 59, 60, 61, 66, 67, 69, 71, 72, 73, 74, 75, 76&gt; 77, 78, 80, 81, 83, 84, 86, 87, 88, 89, 90, 91, and 92 and disapproves conclusions of law numbers I, II, III, IY and Y of the State’s findings of fact and conclusions of law.
